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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )
                    Plaintiff,                   )            8:10CR449
                                                 )
      vs.                                        )            ORDER
                                                 )
ZACHARY LYONS,                                   )
                                                 )
                    Defendant.                   )



      This matter is before the court on the motion of defendant Zachary Lyons (Lyons)
for a temporary release from detention to attend his grandfather’s funeral (Filing No. 43).
      The court has reviewed Lyons’s Pretrial Services Report and notes there is an
outstanding arrest warrant from Lancaster County. Further Lyons has a substantial
substance abuse history. In the ordinary case, the court would release a prisoner for a
private viewing of a deceased close family relative while in the custody of U.S. Marshals
when the cost of the U.S. Marshals is borne by the prisoner’s family. The furlough
requested by Lyons is not warranted in the circumstances of this case.


      IT IS ORDERED:
      Lyons’s motion for a temporary release from detention (Filing No. 43) is denied.


      DATED this 10th day of February, 2011.
                                                 BY THE COURT:


                                                 s/Thomas D. Thalken
                                                 United States Magistrate Judge
